  Case 18-22013      Doc 38    Filed 11/02/18 Entered 11/02/18 14:37:07             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:     18-22013
Jennifer M Murukas                          )
                                            )               Chapter: 13
                                            )
                                                            Honorable Pamela S. Hollis
                                            )
                                            )
               Debtor(s)                    )
  ORDER DISMISSING CASE FOR UNREASONABLE DELAY AND FAILURE TO MAKE
                            PLAN PAYMENTS

               This matter coming on the Trustee's Motion to Dismiss, proper notice given and the
court being advised in the premises;



IT IS HEREBY ORDERED:

       1.     The above referenced case is dismissed pursuant to 11 U.S.C. Section 1307 (c).




                                                        Enter:


                                                                 Honorable Pamela S. Hollis
Dated: November 02, 2018                                         United States Bankruptcy Judge

 Prepared by:
 Glenn Stearns Chapter 13 Trustee

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 Lisle, IL 60532-4350

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